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                                                                      FILED
                                                                1:09 pm, May 31, 2019

                                                                U.S. DISTRICT COURT
                                                             SOUTHERN DISTRICT OF INDIANA
                                                                  Laura A. Briggs, Clerk
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

 VIRGIL GRIFFIN,                                         )
                                                         )
                               Plaintiff,                )
                                                         )
                          v.                             )      No. 1:19-cv-00882-JPH-MPB
                                                         )
 R. CARTER, et al.                                       )
                                                         )
                               Defendants.               )

   Entry Granting Motion to Correct Possible Erroneous Attached Documentary Evidence,
          Screening Fifth Amended Complaint and Dismissing Insufficient Claims,
                            and Directing Further Proceedings

                                I.   Granting Motion to Correct
                         Possible Erroneous Attached Documentary Evidence

         The plaintiff’s “motion to correct possible erroneous attached documentary evidence,” dkt.

  [27], is granted. The Court will treat the documents attached to the plaintiff’s motion as exhibits

  attached to the fifth amended complaint.

                                  II.       Screening of the Complaint

         A.      Screening Standard

         Plaintiff Virgil Griffin is an inmate currently incarcerated at Pendleton Correctional

  Facility. Dkt. 28. Because the plaintiff is a “prisoner” as defined by 28 U.S.C. § 1915A(c), this

  Court has an obligation under 28 U.S.C. § 1915A(a) to screen his complaint before service on the

  defendants. Pursuant to 28 U.S.C. § 1915A(b), the Court must dismiss the complaint if it is

  frivolous or malicious, fails to state a claim for relief, or seeks monetary relief against a defendant

  who is immune from such relief. In determining whether the complaint states a claim, the Court

  applies the same standard as when addressing a motion to dismiss under Federal Rule of Civil

  Procedure 12(b)(6). See Cesal v. Moats, 851 F.3d 714, 720 (7th Cir. 2017). To survive dismissal,
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         [the] complaint must contain sufficient factual matter, accepted as true, to state a
         claim for relief that is plausible on its face. A claim has facial plausibility when the
         plaintiff pleads factual content that allows the court to draw the reasonable
         inference that the defendant is liable for the misconduct alleged.

  Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Pro se complaints such as that filed by the plaintiff

  are construed liberally and held to a less stringent standard than formal pleadings drafted by

  lawyers. Perez v. Fenoglio, 792 F.3d 768, 776 (7th Cir. 2015).

         B.      Plaintiff’s Complaint

         On March 1, 2019, Mr. Griffin initiated this case under 42 U.S.C. § 1983 alleging various

  violations of his constitutional rights. He names thirty-one defendants: (1) Robert Carter; (2)

  Michael Osburn; (3) Dushan Zatecky; (4) Dennis Reagle; (5) Duane Alsip; (6) John Safford; (7)

  Chad Evans; (8) Mike Conyers; (9) Jeremy Ruttan; (10) Jerry Gilley; (11) Jim Boldman; (12)

  Charles Rinehart; (13) Joshua Shaver; (14) Joseph McCutcheon; (15) Steven Hill; (16) Kathleen

  Simone; (17) Jason Ernest; (18) Jerry Holmes; (19) Sergeant Sarten; (20) Officer Fish; (21) Officer

  Hargus; (22) John Doe, Executive Director of Classification; (23) John Doe, Deputy

  Commissioner of Operations; (24) Roger Perry; (25) Ciemone Easter-Rose; (26) Martin Perdue;

  (27) Paul Talbot; (28) Carrie Stephens; (29) Brittany Moore-Groves; (30) Nurse M. Walker; and

  (31) Wexford Health. He sues all of the defendants in both their individual and official capacities.

  He seeks injunctive relief and compensatory and punitive damages.

         Mr. Griffin alleges that, on February 11, 2019, inmate Ryan Eslick stabbed him with a

  “spear.” 1 Dkt. 28 at 10. This occurred while Mr. Eslick was in the shower and Mr. Griffin was

  passing by the shower. Mr. Griffin alleges that, prior to this incident, Mr. Eslick had warned

  Lieutenant Ernest, Mental Health Specialist Perdue, and Dr. Easter-Rose that he would assault



  1
    Although Mr. Griffin claims that he was stabbed with a spear, the documents attached as exhibits
  to his complaint indicate he was stabbed with a pen. See dkt. 27-1 at 3, 4, 6.
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  people and continue to escalate his assaults until he was provided appropriate mental health

  treatment. He also contends that Sergeant Holmes, Officer Fish, and Officer Hargus knew of Mr.

  Eslick’s “history of being a threat and continued risk or assault to others,” yet chose not to separate

  him from the other inmates for showering. Dkt. 28 at 11, 14.

         Mr. Griffin alleges that several defendants knew of the “threat and risk [Mr.] Eslick posed

  to those around him” through incident reports, conduct reports, threats made by Mr. Eslick to

  mental health and custody staff, and Mr. Eslick’s “classification transfer papers and mental health

  reports.” Dkt. 28 at 11-17. These individuals include Case Work Manager Evans, Unit Team

  Manager Safford, Deputy Warden Reagle, Deputy Warden Alsip, Warden Zatecky, Regional

  Director Michael Osburn, Indiana Department of Correction (“IDOC”) Commissioner Robert

  Carter, the IDOC Executive Director of Classification, the IDOC Deputy Commissioner of

  Operations, Captain Ruttan, Captain Gilley, Captain Boldman, Captain Rinehart, Lieutenant

  Shaver, Lieutenant McCutcheon, Lieutenant Hill, and Lieutenant Simone.

         After the incident, Sergeant Holmes notified Nurse Moore-Groves of Mr. Griffin’s injuries,

  but Nurse Moore-Groves said she could not provide any treatment without a doctor’s orders. The

  next day, February 12, 2019, Dr. Talbot conducted doctor visits but refused to see Mr. Griffin

  because he was not on the list. Mr. Griffin then spoke with Mr. Evans, Sergeant Sarten, and

  Lieutenant McCutcheon about receiving medical treatment. Later that same day, Dr. Talbot

  evaluated Mr. Griffin and recommended a tetanus shot, antibiotics, and a blood draw to determine

  whether Mr. Griffin had contracted any contagious diseases. Mr. Griffin alleges that Dr. Talbot,

  Lieutenant McCutcheon, and Sergeant Sarten told him to get ready to go to the infirmary, but

  Sergeant Sarten failed to take him.




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         On February 13, 2019, Mr. Griffin complained to Nurse Stephens, and she said she would

  send someone “later in the week to do blood draws and tetanus shots/lab work.” Dkt. 28 at 21. Mr.

  Griffin submitted a complaint form the next day about the failure to provide the tetanus shot, and

  he alleges that “an infection had begin to set in.” Dkt. 28 at 22.

         Five days after the incident, on February 16, 2019, after more complaints about the alleged

  denial of medical care, Nurse Walker indicated she would leave instructions for the nighttime

  medical staff to provide treatment to Mr. Griffin. Nurse Moore-Groves administered a tetanus shot

  to Mr. Griffin on February 17, 2019. She warned him that it might not be effective because it was

  not given within forty-eight hours of the incident and that it would hurt. Mr. Griffin alleges that

  the shot caused “deep bone and nerve pain” and that another nurse advised him that the pain might

  be caused by the tetanus shot being given “too close to the bone.” Dkt. 28 at 23-24.

         Mr. Griffin asserts that Wexford has a policy of denying and delaying medical treatment

  to lower costs and this policy was the cause of his inadequate medical treatment. He similarly

  alleges that the IDOC continues to contract with Wexford “despite knowing that the mental and

  medical health care contractors knowingly engage in practices that are dangerous and threaten the

  safety, health, and wellbeing of prisoners.” Dkt. 28 at 24-25.

         Mr. Griffin also alleges that on February 18, 2019, during a chronic care visit with Dr.

  Talbot and while complaining about the lack of medical treatment for his injury from the incident

  with Mr. Eslick, Dr. Talbot raised false allegations that Mr. Griffin had been smoking. Dr. Talbot

  then threatened to shake-down Mr. Griffin and his cell. He contends the threatened shake down

  was in retaliation for his complaints about the medical care he received.

         Mr. Griffin identifies two other alleged retaliatory events that occurred after he initiated

  this action: (1) on March 6, 2019, someone woke him up by banging on his cell wall and then



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  yelled that he should stop filing lawsuits; and (2) he was one of two inmates subjected to a shake

  down and strip search in April 2019. He seeks to hold liable Warden Zatecky, Deputy Warden

  Reagle, Deputy Warden Alsip, Captain Ruttan, Captain Gilley, Captain Rinehart, Captain

  Boldman, Major Conyers, Lietenant Hill, Lieutenant McCutcheon, Lieutenant Shaver, and

  Lieutenant Simone on the theory that they “failed in properly training the staff members who

  engaged in these retaliatory actions.” Dkt. 28 at 34.

         Finally, Mr. Griffin contends that the conditions of his confinement violate his

  constitutional rights. He alleges that, as a result of improper psychiatric treatment for other

  inmates, he must live in an “unsafe, unsanitary, disfunctional [sic], and inhumane environment.”

  Dkt. 28 at 34-40. He identifies twenty-six defendants for this claim: IDOC Commissioner Carter,

  Regional Director Osburn, the IDOC Executive Director of Classification, the IDOC Deputy

  Commissioner of Operations, Warden Zatecky, Deputy Warden Reagle, Deputy Warden Alsip,

  Unit Team Manager Safford, Case Work Manager Evans, Major Conyers, Captain Ruttan, Captain,

  Gilley, Captain Boldman, Captain Rinehart, Lieutenant Shaver, Lieutenant McCutcheon,

  Lieutenant Hill, Lieutenant Simone, Lieutenant Ernest, Sergeant Holmes, Correctional Officer

  Fish, Correctional Officer Hargus, Dr. Perry, Dr. Easter-Rose, Mental Health Specialist Perdue,

  and Wexford.

         C.      Analysis

         Applying the screening standard to Mr. Griffin’s complaint, some claims are dismissed

  while other claims shall proceed.

                 1. Failure to Protect

         Jail officials have a duty to protect inmates from violent assaults by other inmates. Farmer

  v. Brennan, 511 U.S. 825, 833 (1994). To state a claim for failure to protect, an inmate must assert:



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  “(1) that he was ‘incarcerated under conditions posing a substantial risk of serious harm’ and (2)

  that the defendants acted with ‘deliberate indifference’ to his health or safety.” Santiago v. Walls,

  599 F.3d 749, 756 (7th Cir. 2010) (quoting Farmer, 511 U.S. at 834). Damages for “a deliberate

  indifference claim cannot be predicated merely on knowledge of general risks of violence,” Weiss

  v. Cooley, 230 F.3d 1027, 1032 (7th Cir. 2000), or fear of an unrealized attack, see Babcock v.

  White, 102 F.3d 267, 270 (7th Cir. 1996). Rather, to sufficiently plead a claim for failure to protect,

  an inmate must “allege facts sufficient to show ‘that the defendants had actual knowledge of an

  impending harm easily preventable, so that a conscious, culpable refusal to prevent the harm can

  be inferred from the defendant’s failure to prevent it.’” Santiago, 599 F.3d at 756 (quoting Lewis

  v. Richards, 107 F.3d 549, 553 (7th Cir. 1997)).

         Here, Mr. Griffin has alleged that several individuals had knowledge of the threat posed by

  Mr. Eslick merely because they received conduct reports, incident reports, and classification

  papers pertaining to Mr. Eslick. These allegations are insufficient to show that these individuals

  had actual knowledge of an easily preventable impending harm against Mr. Griffin. The Eighth

  Amendment failure to protect claims against defendants Case Work Manager Evans, Unit Team

  Manager Safford, Deputy Warden Reagle, Deputy Warden Alsip, Warden Zatecky, Regional

  Director Michael Osburn, IDOC Commissioner Robert Carter, the IDOC Executive Director of

  Classification, the IDOC Deputy Commissioner of Operations, Captain Ruttan, Captain Gilley,

  Captain Boldman, Captain Rinehart, Lieutenant Shaver, Lieutenant McCutcheon, Lieutenant Hill,

  Lieutenant Simone, and Major Conyers 2 are dismissed for failure to state a claim upon which

  relief may be granted.




  2
   Although Mr. Griffin identified Major Conyers as a defendant in his legal claims section, see dkt.
  28 at 41, he does not allege that Major Conyers received any of the documents allegedly sent to
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         Mr. Griffin’s Eighth Amendment failure to protect claims shall proceed against defendants

  Lieutenant Ernest, Mental Health Specialist Perdue, Dr. Easter-Rose, Sergeant Holmes, Officer

  Fish, and Officer Hargus.

                 2. Deliberate Indifference

         Mr. Griffin also contends the medical care he received after being stabbed by Mr. Eslick

  was insufficient. In order for an inmate to state a claim under § 1983 for medical mistreatment or

  the denial of medical care, the inmate must allege “acts or omissions sufficiently harmful to

  evidence deliberate indifference to serious medical needs.” Estelle v. Gamble, 429 U.S. 97, 106

  (1976). Deliberate indifference exists only when an official “knows of and disregards an excessive

  risk to an inmate’s health; the official must both be aware of facts from which the inference could

  be drawn and that a substantial risk of serious harm exists, and he must also draw the inference.”

  Farmer, 511 U.S. at 837; see also Whiting v. Wexford Health Sources, Inc., 839 F.3d 658, 662 (7th

  Cir. 2016). Mr. Griffin’s Eighth Amendment deliberate indifference claims relating to his medical

  treatment shall proceed against Lieutenant McCutcheon, Sergeant Sarten, Dr. Talbot, Nurse

  Moore-Groves, Nurse Walker, and Nurse Stephens.

                 3. Monell Claims

         Because Wexford acts under color of state law by contracting to perform a government

  function, it is treated as a government entity for purposes of § 1983 claims. See Jackson v. Ill.

  Medi-Car, Inc., 300 F.3d 760, 766 n.6 (7th Cir. 2002). To state a cognizable deliberate indifference

  claim against Wexford, Mr. Griffin must allege that he suffered a constitutional deprivation as the

  result of an express policy or custom of Wexford, or as a result of action by an official with policy-




  the other defendants or that he otherwise had any knowledge of a potential threat to Mr. Griffin,
  see dkt. 28 at 9-17.
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  making authority. See Glisson v. Ind. Dept. of Corrections, 849 F.3d 372, 379 (7th Cir. 2017) (en

  banc). Mr. Griffin alleges that Wexford has a policy of denying and delaying medical treatment

  so as to lower the cost of medical care, so his allegations are sufficient to plausibly assert a Monell

  claim against Wexford. Mr. Griffin’s Eighth Amendment policy claim against Wexford Health

  shall proceed.

         Mr. Griffin attempts to also assert a claim against IDOC Commissioner Carter and Warden

  Zatecky on the basis that they continue to contract with Wexford Health to provide health services

  despite allegedly knowing that Wexford Health provides constitutionally deficient medical care.

  Dkt. 28 at 25-27. The first inquiry in every § 1983 case is whether there has been the deprivation

  of a right secured by the Constitution or laws of the United States, for without a predicate

  constitutional violation one cannot make out a prima facie case under § 1983. Juriss v. McGowan,

  957 F.2d 345, 349 n.1 (7th Cir. 1992). Section 1983 is not itself a source of substantive rights;

  instead, it is a means for vindicating federal rights elsewhere conferred.” Ledford v. Sullivan, 105

  F.3d 354, 356 (7th Cir. 1997). This claim falters at this point, even when liberally construed. The

  IDOC’s decision to delegate the provision of medical services to Wexford Health does not

  implicate any of Mr. Griffin’s constitutional rights. If he believes Wexford Health has a policy of

  providing constitutionally inadequate care, or that any employees of Wexford Health are providing

  constitutionally inadequate care, he can do what he has done in this case—assert a claim against

  Wexford Health or the individual employees. His attempt to include IDOC Commissioner and

  Warden Zatecky in such a claim—solely on the basis that they are responsible for the contract with

  Wexford Health—is unavailing. These claims are dismissed for failure to state a claim upon which

  relief can be granted.




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                 4. Retaliation and Conditions of Confinement Claims

         “When screening prisoners’ complaints under the [Prisoner Litigation Reform Act

  (“PLRA”)], courts can and should sever an action into separate lawsuits or dismiss defendants who

  are improperly joined under Federal Rule of Civil Procedure 20(a)(2).” Mitchell v. Kallas, 895

  F.3d 492, 502 (7th Cir. 2018) (quoting Owens v. Hinsley, 635 F.3d 950, 952 (7th Cir. 2011)). The

  Seventh Circuit has warned district courts to “beware of ‘scattershot’ pleading strategies” and

  “target for dismissal ‘omnibus’ complaints . . . that raise claims about unrelated conduct against

  unrelated defendants.” Id. at 503. This warning arose “[o]ut of concern about unwieldy litigation

  and attempts to circumvent the PLRA’s fee requirements.” Id.; see also Owens v. Evans, 878 F.3d

  559, 561 (7th Cir. 2017). “A prisoner may join defendants in the same action only if the claims

  against each one ‘aris[e] out of the same transaction, occurrence, or series of transactions or

  occurrences.” Mitchell, 895 F.3d at 502-03 (citing Fed. R. Civ. P. 20(a)(2)(A) and George v. Smith,

  507 F.3d 605, 607 (7th Cir. 2007)).

         Mr. Griffin filed his original complaint in this action on March 1, 2019. Dkt. 1. That

  complaint presented failure to protect and deliberate indifference claims under the Eighth

  Amendment related to the attack on Mr. Griffin by Mr. Eslick. See id. After multiple amendments

  identifying several additional defendants, see dkts. 6, 10, 19, 26, Mr. Griffin now seeks to assert

  claims alleging retaliation and unconstitutional conditions of confinement. Two of the three

  allegations of retaliation occurred after Mr. Griffin filed his original complaint. The conditions of

  confinement claims relate to the adequacy of psychological services available at Pendleton

  Correctional Facility. These claims do not arise out of the same transaction, occurrence, or series

  of transactions or occurrences underlying Mr. Griffin’s failure to protect and deliberate

  indifference claims.



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         Instead of sua sponte severing the retaliation and conditions of confinement claims into

  two new civil actions, Mr. Griffin shall have the opportunity to determine whether to pursue these

  claims as new actions or have them dismissed without prejudice. Myles v. United States, 416 F.3d

  551, 552 (7th Cir. 2005) (noting that the composition and content of the complaint are entirely the

  responsibility of the plaintiff, for “even pro se litigants are masters of their own complaints and

  may choose who to sue-or not to sue”). If new actions are opened, Mr. Griffin will be responsible

  for a filing fee for each new case and the screening requirement of 28 U.S.C. § 1915A(b) will be

  triggered for each new case.

         Mr. Griffin shall have through August 9, 2019, in which to notify the Court whether he

  wishes the Court to sever any claim into a new action, and if so, he shall identify which claims

  against which defendants. If Mr. Griffin fails to notify the Court, the misjoined claims will be

  considered abandoned and will be dismissed without prejudice.

                            III.    Issuance and Service of Process

         The clerk is directed, pursuant to Fed. R. Civ. P. 4(c), to issue process to defendants (1)

  Lieutenant Jason Ernest; (2) Mental Health Specialist Martin Perdue; (3) Dr. Ciemone Easter-

  Rose; (4) Sergeant Jerry Holmes; (5) Officer Fish; (6) Officer Hargus; (7) Nurse Brittany Moore-

  Groves; (8) Dr. Paul Talbot; (9) Nurse M. Walker; (10) Nurse Carrie Stephens; (11) Lieutenant

  Joseph McCutcheon; (12) Sergeant Sarten; and (13) Wexford Health. Process shall consist of the

  fifth amended complaint filed May 31, 2019 (dkt. 28), applicable forms (Notice of Lawsuit and

  Request for Waiver of Service of Summons and Waiver of Service of Summons), and this Entry.

                                        IV.     Summary

         Mr. Griffin’s Eighth Amendment failure to protect claims shall proceed against defendants

  Lieutenant Ernest, Mental Health Specialist Perdue, Dr. Easter-Rose, Sergeant Holmes, Officer



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  Fish, and Officer Hargus. His Eighth Amendment deliberate indifference claims relating to his

  medical treatment after being attacked shall proceed against Lieutenant McCutcheon, Sergeant

  Sarten, Dr. Talbot, Nurse Moore-Groves, Nurse Walker, and Nurse Stephens. His Eighth

  Amendment policy claim against Wexford Health shall proceed.

         The clerk is directed to terminate from the docket all defendants except Lieutenant Jason

  Ernest, Mental Health Specialist Martin Perdue, Dr. Ciemone Easter-Rose, Sergeant Jerry Holmes,

  Nurse Brittany Moore-Groves, Dr. Paul Talbot, and Nurse Carrie Stephens.

         The clerk is directed to add to the docket as defendants Officer Fish, Officer Hargus,

  Nurse M. Walker, Lieutenant Joseph McCutcheon, Sergeant Sarten, and Wexford Health.

  SO ORDERED.
  Date: 7/10/2019




  Distribution:

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  Pendleton, IN 46064-9001

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  DR. PAUL TALBOT
  Medical Staff
  PENDLETON CORRECTIONAL FACILITY
  4490 W. Reformatory Road
  Pendleton, IN 46064-9001

  NURSE BRITTANY MOORE-GROVES
  Medical Staff
  PENDLETON CORRECTIONAL FACILITY
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  NURSE M. WALKER
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  4490 W. Reformatory Road
  Pendleton, IN 46064-9001

  NURSE CARRIE STEPHENS
  Medical Staff
  PENDLETON CORRECTIONAL FACILITY
  4490 W. Reformatory Road
  Pendleton, IN 46064-9001

  WEXFORD HEALTH
  Corporation Service Company
  135 N. Pennsylvania Street, Suite 1610
  Indianapolis, IN 46204

  Electronic Service to the following IDOC employees:
         Lieutenant Jason Ernest
         Sergeant Jerry Holmes
         Officer Fish
         Officer Hargus
         Lieutenant Joseph McCutcheon
         Sergeant Sarten
         (All at Pendleton Correctional Facility)


  Courtesy Copy to:

  Doug Bitner
  Katz, Korin, Cunningham PC
  334 N. Senate Avenue
  Indianapolis, IN 46204-1708

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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

 VIRGIL GRIFFIN,                                        )
                                                        )
                               Plaintiff,               )
                                                        )
                          v.                            )     No. 1:19-cv-00882-JPH-MPB
                                                        )
 C. EASTER-ROSE, et al.                                 )
                                                        )
                               Defendants.              )

    Order Granting in Part and Denying in Part Motion to Reconsider Dismissal of Claims
                    and Granting Motion to Dismiss Defendant Hargus

                                                   I.

         On July 30, 2019, the plaintiff filed a motion for relief from dismissal of claims asking the

  Court to reconsider its dismissal of his failure to protect claims against Case Work Manager Evans,

  Unit Team Manager Safford, Deputy Warden Reagle, Deputy Warden Alsip, Warden Zatecky,

  Regional Director Michael Osburn, Indiana Department of Correction Commissioner of

  Operations, Captain Ruttan, Captain Gilley, Captain Boldman, Captain Rinehart, Lieutenant

  Shaver, Lieutenant McCutcheon, Lieutenant Hill, Lieutenant Simone, and Major Conyers and his

  Monell policy claims against IDOC Commissioner Carter and Warden Zatecky. Dkt. 35. The

  plaintiff’s motion, dkt. [35], is granted to the extent the Court finds the allegations in the fifth

  amended complaint and motion for relief are sufficient to state a failure to protect claim against

  Case Work Manager Evans. The plaintiff’s motion is denied as to all the other purported

  defendants and claims for the reasons set forth in the Court’s Entry dated July 10, 2019.

         The clerk is directed to add Case Work Manager C. Evans as a defendant on the docket.

         The clerk is further directed, pursuant to Federal Rule of Civil Procedure 4(c), to issue

  process to defendant Case Work Manager C. Evans. Process shall consist of the fifth amended

                                                   1
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  complaint filed May 31, 2019 (dkt. 28), applicable forms (Notice of Lawsuit and Request for

  Waiver of Service of Summons and Waiver of Service of Summons), the Entry of July 10, 2019

  (dkt. 30), and this Order.

                                                   II.

         The plaintiff’s motion to dismiss defendant Officer Hargus, dkt. [54], is granted.

         The clerk is directed to terminate defendant Officer Hargus as a defendant on the

  docket. No partial final judgment shall issue at this time.

  SO ORDERED.

  Date: 8/20/2019




  Distribution:

  VIRGIL GRIFFIN
  998996
  PENDLETON - CF
  PENDLETON CORRECTIONAL FACILITY
  Inmate Mail/Parcels
  4490 West Reformatory Road
  PENDLETON, IN 46064

  Lyubov Gore
  INDIANA ATTORNEY GENERAL
  lyubov.gore@atg.in.gov

  Daniel F. Rothenberg
  INDIANA ATTORNEY GENERAL

  Electronic Service to the following IDOC employee at Pendleton Correctional Facility:
         Case Work Manager C. Evans




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

  VIRGIL GRIFFIN,                                      )
                                                       )
                                Plaintiff,             )
                                                       )
                           v.                          )        No. 1:19-cv-00882-JPH-MPB
                                                       )
  C. EASTER-ROSE, et al.                               )
                                                       )
                                Defendants.            )


     NOTICE OF LAWSUIT AND REQUEST TO WAIVE SERVICE OF A SUMMONS

  TO:    1) Case Work Manager C. Evans

         Why are you getting this?

         A lawsuit has been filed against you, or the entity you represent, in the United States

  District Court for the Southern District of Indiana under the number shown above. A copy of the

  complaint is attached.

         This is not a summons. It is a request that, to avoid expenses, you waive formal service of

  a summons by signing and returning the enclosed waiver. To avoid these expenses, you must

  return the signed waiver within 30 days from the date shown below, which is the date this notice

  was sent. Two copies of the waiver form are enclosed, along with a stamped, self-addressed

  envelope or other prepaid means for returning one copy. You may keep the other copy.

         What happens next?

         If you return the signed waiver, it will be filed with the court. The action will then proceed

  as if you had been served on the date the waiver is filed, but no summons will be served on you
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  and you will have 60 days from the date this notice is sent (see the date below) to answer the

  complaint (or 90 days if this notice is sent to you outside any judicial district of the United States).

         If you do not return the signed waiver within the time indicated, the court will direct that

  appropriate steps be taken to effect formal service in a manner authorized by the Federal Rules of

  Civil Procedure and may require you, or the entity you represent, to pay the expenses of making

  service.

         Please read the enclosed statement about the duty to avoid unnecessary expenses.

         I affirm that this request is being sent to you on behalf of the plaintiff this

   20th day of       August               , 2019.

                                                         Deputy Clerk
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION


  VIRGIL GRIFFIN,                                         )
                                                          )
                                 Plaintiff,               )
                                                          )
                            v.                            )        No. 1:19-cv-00882-JPH-MPB
                                                          )
  C. EASTER-ROSE, et al.                                  )
                                                          )
                                 Defendants.              )


                           WAIVER OF THE SERVICE OF SUMMONS

  TO:     Clerk of Court, Southern District of Indiana

          I have received your request to waive service of a summons in this action along with a copy

  of the complaint, two copies of this waiver form, and a prepaid means of returning one signed copy

  of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint

  in this case. I understand that I, or the entity I represent, will keep all defenses or objections to the

  lawsuit, the court’s jurisdiction, and the venue of the action, but that I waive any objections to the

  absence of a summons or of service.

          I also understand that I, or the entity I represent, must file and serve an answer or a motion

  under Rule 12 within 60 days from the date when this request was sent (or 90 days if it was sent

  outside the United States). If I fail to do so, a default judgment will be entered against me or the

  entity I represent.
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  Date:                              _________________________
                                     Signature of the Attorney or Unrepresented Party


                                     Printed or Typed Name


                                     Address


                                     E-mail address


                                     Telephone number
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                     Duty to Avoid Unnecessary Expenses of Serving a Summons

            Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in

  saving unnecessary expenses of serving a summons and complaint. A defendant who is located in

  the United States and who fails to return a signed waiver of service requested by a plaintiff located

  in the United States will be required to pay the expenses of service, unless the defendant shows

  good cause for the failure.

            “Good cause” does not include a belief that the lawsuit is groundless, or that it has been

  brought in an improper venue, or that the court has no jurisdiction over this matter or over the

  defendant or the defendant’s property.

            If the waiver is signed and returned, you can still make these and all other defenses and

  objections, but you cannot object to the absence of a summons or of service.

            If you waive service, then you must, within the time specified on the waiver form, serve an

  answer or a motion under Rule 12 on the plaintiff and file a copy with the court. By signing and

  returning the waiver form, you are allowed more time to respond than if a summons had been

  served.
